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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


MARVEL WORLDWIDE, INC.,                              Civil Action No. 10-141 (CM) (KF)
MARVEL CHARACTERS, INC. and
MVL RIGHTS, LLC,                                     [REDACTED] CONFIDENTIAL
                                                     MEMORANDUM OF LAW IN
                                                     SUPPORT OF DEFENDANTS'
                      Plaintiffs,                    OPPOSITION TO PLAINTIFFS'
      -against-                                      MOTION FOR SUMMARY
LISA R. KIRBY, BARBARA J. KIRBY,                     JUDGMENT
NEALL. KIRBY and SUSAN M. KIRBY,
                                                     ORIGINAL FILED UNDER SEAL

                             Defendants.             [Hon. Colleen McMahon]
                                                     [ECF Case]
LISA R. KIRBY, BARBARA J. KIRBY,
NEALL. KIRBY and SUSAN M. KIRBY,


                         Counterclaimants,
       -against-


MARVEL ENTERTAINMENT, INC.,
MARVEL WORLDWIDE, INC.,
MARVEL CHARACTERS, INC., MVL
RIGHTS, LLC, THE WALT DISNEY
COMP ANY and DOES 1 through 10,


                   Counterclaim-Defendants.
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                                         INTRODUCTION

        Defendants/counterclaimants (the "Kirbys"), the children oflegendary comic book artist

Jack Kirby ("Kirby"), hereby oppose plaintiffs/counterclaim-defendants' (with predecessors,

"Marvel") motion for summary judgment ("Mot."). The Kirbys properly availed themselves of

their termination right under 17 U.S.C. § 304(c) to recapture their father's copyrights from 1958-

1963 (the "Period") by serving statutory notices of termination ("Termination") on Marvel.

        Marvel predictably claims that all the Kirby material it published was "work for hire" -

the lone exception to the inalienable termination right. However, Marvel cannot meet its burden

of proving by credible evidence, viewed in the light most favorable to the Kirbys, that it satisfies

the "instance" and "expense" prongs of the "work for hire" test under the 1909 Copyright Act.

       In essence, a work is created at the "expense" of a putative employer if it is "on the hook"

prior to the work's creation to pay for it. Marvel clearly was not. Marvel in the 1950's to mid-

1960' s was a small, tight-fisted operation. In 1957, it fired its staff writers and artists, buying

material from freelancers to limit its financial risk. The freelancers, who worked out of their

houses and paid for their supplies, shouldered the financial risk of creation, not Marvel. Try as it

may to re-label freelance material "work for hire," Marvel paid for only that work it accepted

and purchased. The record evidence reveals that Marvel did not pay freelancers for rejected

work, or to revise it as a condition to its acceptance. As Marvel had no legal obligation to buy

Kirby's artwork it cannot satisfy the "expense" prong, precluding its ·'work for hire" defense.

       Similarly, a work is created at a putative employer's "instance" if it has the legal right to

control the work's creation. Marvel had no such right. It had no contract with Kirby or the other

freelancers, who, in tum, had no obligation to provide material to Marvel. Marvel's claim that it

had the right to "edit" freelance material is a red herring. Marvel had no legal right to edit work
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until it accepted, bought and paid for it. Once purchased, Marvel could edit, publish the work, or

not, like any publisher. The fact Marvel could use its buying power to require freelancers to

modify their work so that Marvel would purchase it does not equate to a legal right. That a

freelancer's refusal to revise his work could result in a lost sale only demonstrates that such

material was not owned by Marvel at inception as "work for hire."

        Marvel relies heavily on the testimony of its "Chairman Emeritus" Stan Lee ("Lee"), who

has deep financial ties to both Marvel and Disney. His prepared testimony contradicts his prior

authenticated statements and the bulk of the record evidence. By claiming sole credit for the

creation of the characters at issue, Lee/Marvel not only seek to deny the Kirbys their rights under

the Copyright Act, but to marginalize their father's enormous contributions. Such overreaching

only underscores the many genuine issues of material fact requiring denial of Marvel's motion.

                                   FACTUAL BACKGROUND

        The relevant background facts are set out in greater detail in the Kirbys' cross-motion for

summary judgment, incorporated herein by reference. Docket No. 76 at 3-8. From its

beginnings to the 1960s, the comic book business was "a fly-by-night industry." See 56. l

Statement of Disputed Facts ("56.1 Stmnt") ,r 134. Notably, little to no attention was paid to

copyright ownership by the publishers or artists. Id. In the 1930s-40s, some writers and artists

worked as employees, under "sweat shop" conditions. Id. ,r 13 5. Others worked as freelancers

out of their homes, setting their own hours, and paying for their own supplies. Id. Freelancers

were not paid for rejected work or for revising it as a condition to its acceptance. Id.

       In 1939, Martin Goodman founded Marvel's predecessor, Timely Comics. 56.1 Stmnt ,r

136. In the mid-1940s, Timely had a "bullpen" of salaried artists and writers. Id. However, in

1949, Goodman discovered surplus artwork, and fired its employees until the art was used up.




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Id. By 1957, the comic book industry was at an all time low due to Frederic Wertham's crusade

against comic books. Id. ,r,r 137-38. In 1957, Timely, near bankruptcy, again fired all its

employees except Goodman's relative Lee and his assistant. Id. ,r 139. In 1958, Timely slowly

resumed buying freelance material on a per-page basis. Id. ,r 140. Timely purposefully had no

written freelancer contracts, and no obligation to buy their material. Id. ,r,r 141, 154.

        In the 1930's Jack Kirby formed a famous partnership with Joe Simon that sold work to

different publishers, including Timely, until it disbanded in 1955. 56.1 Stmnt ,r 143. From the

1958-1963 Period until 1970, Kirby produced and sold artwork to Marvel solely on a freelance

basis, and was never employed by Marvel. Id. ,r,r 145-47. In this fashion, Kirby created or co-

created many of Marvel's signature characters, including The Fantastic Four, The Incredible

Hulk, Thor, The Silver Surfer, Iron Man, X-Men, Avengers, Ant-Man, and Nick Fury. 56. l Stmnt

,r,r 3, 8, 79-83, 85, 87-88, 90-91, 94-95, 97, 99, 101, 103, 105, 107, 108. Kirby would conceive,
draw and plot the stories in his artwork, with story notes and dialogue in the margins. Id. ,r 148.

       Notably, Marvel did not have any written agreement with Kirby (or any other freelancer)

during this Period. 56.1 Stmnt ,r,r 141, 144-47. The first agreement with Kirby produced by

Marvel was executed on June 5, 1972, and is aptly titled an "Assignment." Id. ,r,r 146-47. In the

Period and beyond, Kirby, like other freelancers, was not paid a fixed salary by Marvel; Marvel

was not legally obligated to purchase his artwork; and Kirby was not obligated to supply artwork

to Marvel. Id. ,r,r 144-47, 149-51, 154-55, 160. Kirby was paid on a per-page basis for those

pages ultimately accepted and purchased by Marvel, and was not paid for rejected work or work

Marvel asked him to redraw. Id. ,r,r 145, 152-53. Kirby was free to and, in fact, did sell his

freelance work to other publishers during the Period. Id. ,r 155. Kirby also freely sold to other

companies works with concepts and characters that Marvel had rejected. Id. ,r 154-55. Like




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other freelancers, Kirby bore all the expenses of creating his material, which Marvel did not

reimburse. Id. ,r 149. Nor did Marvel provide to Kirby with any employee benefits. Id. ,r 151.

        In 1968 Marvel was acquired by Perfect Film, which later became Cadence Industries.

56.1 Stmnt ,r 161. Due to Marvel' s loose practices, and the increasing value of comic book

characters, Cadence sought to shore up Marvel' s assets. Id. "Work for hire" became a focus of

insecurity, when the 1976 Copyright Act, effective on January 1, 1978, articulated a detailed

"work for hire" regime. 17 U.S.C. § 101. Cadence/Marvel embarked on a campaign to revise

history by forcing the artists and writers who had supplied it with material to sign statements re-

characterizing all their prior work as "for hire," decades after its creation. In May 1978, after

Kirby left Marvel, it required its artists and writers, if they hoped to continue working, to sign

self-serving agreements "that any and all work ... which have been or are in the future created"

is "to be considered a work made for hire." 56.1 Stmnt ,r 162. Then, when many of the older

freelancers, including Kirby, sought the return of their original artwork to supplement their

meager incomes, Marvel used this as leverage to force them to sign "artwork releases" with

retroactive "work for hire" clauses as a condition to returning their artwork. Id. ,r 163. See

Declarations of Dick Ayers ("Ayers Dec.") ,r 15 ("Marvel sent me a one page artwork release

form to sign, and informed me that unless I signed and returned the form 'as is,' they would not

return my original artwork. I signed the release, because I was in no position to bargain ... "); Jim

Steranko ("Steranko Dec.'') ,r 16; and Neal Adams ("Adams Dec.") ,r 15.

       On September 16, 2009, Kirby's children served Marvel with their Termination. Tob.

Dec. ,r 4; Ex. A. On January 8, 2010, Marvel sued the Kirbys under their ·'work for hire" theory.

                                      LEGAL ST AND ARD

       A motion for summary judgment may only be granted if the evidence "show[ s] that there




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is no genuine issue as to any material fact and that the moving party is entitled to judgment as a

matter oflaw." F.R.C.P. 56(c); Anderson v. Liberty Lobby. Inc., 477 U.S. 242, 247-50 (1986).

The "fundamental maxim" is that the "court cannot try issues of fact," and can only determine if

there are issues to be tried. Donahue v. Windsor Locks Bd. of Fire Comm 'rs, 834 F.2d 54, 58 (2d

Cir. 1987). A fact is "material" if it affects the outcome under the governing law. Consarc v.

Marine Mid. Bank, 996 F.2d 568, 572 (2d Cir. 1993). The moving party bears the burden of

identifying credible evidence that demonstrates the absence of a genuine issue of material fact

for trial. Liberty, 4 77 U.S at 256. On summary judgment, the court must resolve all ambiguities

and draw all reasonable inferences against the moving party. Consarc, 996 F.2d at 572. 1

                                               ARGUMENT

I.      MARVEL CANNOT PROVE "INSTANCE AND EXPENSE" AND, AT MOST,
        RAISES GENUINE ISSUES OF MATERIAL FACT PRECLUDING ITS MOTION

        A.     Marvel's Star Witness, Stan Lee, Lacks Credibility

        Marvel' s supposedly "undisputed" facts rest largely on the testimony of Stan Lee and his

claims that he solely created the famous characters at issue herein. See, e.g., Docket No. 61

(Marvel's Rule 56.1 Statement), ,r,r 14-16, 18-35, 37-59, 61-65, 79-83, 85, 87-88, 90-91, 93-95,

97, 99, 101, 103, 105, 107. Lee's rehearsed testimony, repeating hearsay in Lee's self-

aggrandizing books, is frequently the sole evidence ofMarvel's purported "facts." Id. ,r,r 14, 18,

20, 42, 43, 57, 65, 79, 81, 82-83, 85, 87, 91, 93, 97, 99, 107.




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  The Kirbys' motion for summary judgment, asserting that Marvel cannot satisfy the "expense"
prong of "instance and expense" test, does not mean there are no genuine issues of material fact
as to Marvel's motion. If the Court found issues of fact as to "expense," both motions are barred.
Marvel' s motion fails by implicating issues of fact as to the "instance" prong of the test as well.


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       Lee's credibility is further undermined by his now taking sole credit for the creation of

the iconic characters at issue. Declaration of Marc Toberoff ("Tob. Dec.") Ex. J at 333 :25-

336: l 1; 378:8-379:3. This is inconsistent with both the record and Lee's prior authenticated

statements. Compare Docket No. 611181, 85, 97, 99, I 07 with Singer Dec. Ex. 53 at 36-37;

Tob. Dec. Ex. VV at 6 ("I co-created The Fantastic Four and the Hulk with Kirby."); Ex. NN at

Kl 759 ("[Kirby] was a virtually inexhaustible wellspring of fantastic new ideas, concepts and

designs."); Ex. U at 87; 340:8-341 :8, 348: 17-349: 11. See also Tob. Dec., Ex. J at 284: 10-287:24

(Lee admitting his famously "poor memory"). Marvel claims Lee "routinely ignore[d]" Kirby's

suggestions citing Lee's testimony (Mot. at 6), but Lee has stated otherwise:

       Some artists, such as Jack Kirby, need no plot at all. I mean I'll just say to Jack, "Let's
       let the next villain be Dr. Doom" ... or I may not even say that. He may tell me. And
       then he goes home and does it. He's so good at plots, I'm sure he's a thousand times
       better than I. He just about makes up the plots for these stories. All I do is a little
       editing .... I may tell him that he's gone too far in one direction or another. Of course,
       occasionally I'll give him a plot, but we're practically both the writers on the things.

Id. Ex. J at 342:4-343:1. Unlike Kirby (Captain America in 1941, The New Gods in 1971), Lee

did not create a single well-known character before Kirby arrived in 1958 or after he left in 1970:

       "Q: Do you recall creating any new characters for Marvel after 1970?
       A (Lee): There was a time in the -maybe in the 90s when I started to create a new line of
       comics for Marvel... We never published them ... I was working with new people and it
       just-they didn't tum out right. But aside from that, no." Tob. Dec. Ex. J at 23:4-13.

       Lee's bias and motive to help Marvel at all costs is exemplified by his contradictory

testimony on many other key points. For instance, Lee testified on direct examination that

Marvel's checks always had "work for hire" language on the back (Tob. Dec. Ex. I at 28:20-

29: 11 ); and in June 11, 2007 Lee signed under oath an affidavit for Marvel that "I received

checks from Timely and its successors that bore a legend acknowledging that the payment was

for 'works for hire"' for works published in the l 950's and l 960's, and that he "can recall no




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checks that [he] received that did not bear this legend." Singer Dec. Ex. 34 at 1 13; Ex. 8 at 12.

This contradicts all the record evidence. See Tob. Dec. Exs. AA, LL at Ex. C; Declarations of

Joe Sinnott ("Sinnott Dec.") 1113-14 and Gene Colan ("Colan Dec.") 112; Ayers Dec. 114;

Steranko Dec. 112; and Adams Dec. 114-15. On cross, Lee was forced to admit that, as late as

1974, Marvel's checks contained "assignment" language instead of "work for hire" language and

that he did not know when the "work for hire" legend first appeared. Tob. Dec. Ex. J at 276:12-

278:1; 280:21-281:12; Ex.Cat 141:9-142:21.

        Lee's treatment of his brother, Lieber, regarding his testimony is also telling. Lieber has

worked on Lee's syndicated Spider-Man strip for 23 years. Tob. Dec. Ex.Eat 7:18-23.



                             To recruit witnesses after the Termination, Marvel invited Lieber to

a "reunion of old-timers," but Lieber declined. Tob. Dec. Ex.Eat 51 :20-52:23. Thereafter, Stan

Lee leaned on his own brother. Id. Ex. Eat 58: 19-59: 19 (Lieber: "He didn't tell I shouldn't, but

he sort of said, 'Well I hope you don't lose the [Spider-Man] strip because of it or something."').

       B.      Marvel Has Not Met Its Burden of Proving That Kirby's Material Was
               "Work Made For Hire"

               1.      The "Work For Hire" Doctrine Under the 1909 Act

       As the Kirby works at issue were created prior to 1978, the Copyright Act of 1909 (the

"1909 Acf') governs. See Estate of Hogarth v. Edgar Rice Burroughs, Inc. ("Hogarth"), 342

F.3d 149 (2d Cir. 2003). The 1909 Act simply stated, without further explication, that "the word

'author' shall include an employer in the case of works made for hire," 17 U.S.C. § 26, repealed

by Pub. L. 94-553 ( 1976), and was intended to have a narrow application. See Barbara A.

Ringer, Copyright Law Revision Study No. 31 at 138-39 (1960). Thus, "until the mid-1960' s,

tederal courts applied the work-for-hire doctrine only to cases in which a traditional



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employer/employee relationship existed .... " Hogarth, 342 F.3d at 161, n.15. 2

        The extension of the "instance and expense" test in the mid-1960' s to independent

contractors was marred by confusion and contradictions. In Brattleboro Publishing Co., v.

Winmill Publishing Corp. ("Brattleboro"), 369 F.2d 565, 567-68 (2d Cir. 1966), the Second

Circuit used an "instance and expense" test to find an implied assignment of an independent

author's copyright to a publisher, stating that "there is a presumption ... that the copyright shall

be in the person at whose instance and expense the work is done." Picture Music, Inc. v. Bourne,

Inc., 457 F.2d 213 (2d Cir. 1972) used this "instance and expense" test to extend the "work for

hire" doctrine to independent contractors, based on erroneous interpretations of Brattleboro,

Yardley and other implied assignment cases. See Hogarth, 342 F.3d at 160, n.14. In turn,

Playboy Enterprises, Inc. v. Dumas ("Playboy"), 53 F.3d 549, 563 (2d Cir. 1995), relied on

Picture Music to find an independent contractor's work was "work for hire."

        In any event, Marvel bears the burden of proving by credible evidence that the terminated

works were created at its "instance and expense" of its predecessors because "work for hire" is a

statutory exception to the termination statute. See 17 U.S.C. § 304(c); Woods v. Bourne Co., 60

F.3d 978,993 (2d Cir. 1995) (burden of proving exception to§ 304(c) falls on the assignee).

               2.      Marvel Cannot Establish the "Expense" Prong

       Marvel cannot satisfy the "expense" prong of its ''work for hire" defense. Marvel

contends that the mere payment to Kirby of a "fixed per-page rate," once it accepted his pages,

satisfies the ·'expense" prong. Mot. at 17. However, this ignores the critical function of this

prong to distinguish "work for hire" from the mere purchase of finished material. As set forth in


2
 Commissioned works were owned through assignment. See, e.g.. Yardley v. Houghton Mifflin
Co., 108 F.2d 28, 30 (2d Cir. 1939) ("When an artist accepts a commission to paint a picture for
another for pay, he sells not only the picture but also the right to reproduce copies .... ").


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the Kirbys' motion for summary judgment, the relevant focus of the "expense" prong is not

whether a publisher ended up paying a "sum certain," but whether it was "certainly" or legally

obligated to pay prior to the creation of the work. See Docket No. 76 at 16-22; Brattleboro, 369

F.2d at 568 (finding "instance and expense" because hiring party obliged to bear expense

regardless of whether work was accepted, see Brattleboro, 250 F. Supp. 215,218 (D. Vt. 1966)).

Thus, where the putative employer is obligated to pay the author a "'tum-down"' fee for "unused

work," this weighs in favor of"work for hire." Playboy, 960 F. Supp. 710, 715 (S.D.N.Y. 1997).

See Twentieth Century Fox Film Corp v. Entertainment Distrib. ("Twentieth Century"), 429 F.3d

869, 881 (9th Cir. 2005) (publisher paid author advances); Hogarth, 2002 U.S. Dist. LEXIS

4219, at *57 (S.D.N.Y. Mar. 15, 2002) (publisher paid author a "nonrefundable advance").

       Marvel can offer no evidence that it was legally obligated to buy artwork submitted by

Kirby or any other freelancer during the operative Period. The evidence shows exactly the

opposite - that payment was contingent on Marvel's acceptance of completed artwork: Marvel

converted to a freelance model in 1957 to limit its financial obligations to artists (56.1 Stmnt ,r,r

137-39); Kirby worked as a freelancer during the Period and beyond, without a contract from

Marvel or financial security, and bore all the expenses of creating his material without

reimbursement and was paid on a "per page" basis only for those pages that Marvel had accepted

(id. ,r,r 145-55); Kirby was not paid for rejected pages or for revisions he performed at Marvel's

request as a condition to its acceptance (id.); Lieber testified that Marvel was "not obligated" to

purchase such freelance material (id. ,r,r 141, 154) and that Marvel did not pay for redone work

(id.); Kirby tore up pages for The Incredible Hulk that Marvel rejected and did not pay for, which

ended up in Lieber's possession (id. ,r 152); Marvel's witness, John Romita (''Romita'') testified

that Marvel did not pay for rejected work (id.); Neal Kirby and Susan Kirby, both teenagers in




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the Period, testified that their father was not paid for rejected work or for redrawing work (id.);

Evanier testified that Kirby "had pages ... where [Marvel] had rejected certain pages and sent

them back to him, and they had not paid him." Id. As Kirby expert John Morrow stated "(a]ll

the historical data shows rejected and redrawn work or rejected work wasn't paid for." Id.

        Even as late as 1974-1977, when Marvel gave its top freelancers written contracts, it

explicitly stated that it would not pay for redrawing work.

         " ... Employee will make all changes and rework all Material as reasonably required by
        the Publisher of Marvel without charge (that is reworks and changes shall not constitute
        pages for the purposes of computing compensation hereunder)."

Tob. Ex. LL at Ex. E ,r 3                                               . In further support of the

fact that Marvel did not pay for rejected work, Marvel sought out the Kirbys in 2008 to license

unpublished Kirby artwork, including rejected work for Thor, X-Men and The Fantastic Four.

Tob Dec. Ex. Q at 1509-1512, Ex. Rat 1492. If Kirby's work had been "for hire," Marvel would

have owned it "automatically upon the employee's creation of the work." Hogarth, 342 F.3d at

162; see Siegel v. Warner Bros. Entm 't Inc., 658 F. Supp. 2d 1036, 1056 (C.D. Cal 2009) (a

work is "for hire" if it "belonged at the outset to the party that commissioned the work.").

       Marvel's sole purported evidence is testimony by Lee, on rehabilitation by Marvel's

counsel, that Kirby supposedly got paid for some rejected Spiderman pages. Tob. Dec. Ex. J at

376:13-15 (Q.: "Did Kirby get paid for those pages?" A: "Sure."). The problem, however, is Lee

had just testified that he had absolutely nothing to do with Marvel' s accounting and payroll. Id.

Ex. J at 275: 17-276: 1 ("I was never in charge of payroll .... [T]hat was the payroll and

bookkeeping department. And I have no idea what went on there."). 3

       Marvel's other purported citations as to "rejected pages" do not address the point. See


3
 Notably, Lee changed his story after Marvel's counsel requested a break after Lee's cross-
examination, and rehearsed Lee for such rehabilitation questioning. Tob. Dec. ,r 70.


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Singer Dec. Ex. 1 at 18:6-16 (Lee testifies that Marvel did not ask for its money back when it

purchased material but ultimately decided not to publish it); 30: 11-31 :5 (Lee skirts the issue and

discusses payment "whether or not the actual drawing were ultimately published"); Ex. 3 at 28:

5-15 (Thomas does not discuss rejected pages); 68:24-69:6 (Thomas discusses revisions); Ex. 2

at 16:13-21 (Romitajust discusses his page rate); 32:2-5 (Romita generally affirms that he got

paid for his work, but does not discuss issue ofrejected pages).

        Lee's testimony is also contradicted by the testimony of Marvel veterans that Marvel did

not pay for rejected material or redraws. See Ayers Dec. ,r,r 10-12 ("I was not paid for rejected

material, nor was I paid for ... redoing any artwork at Marvel's request as a condition to their

purchase"); Colan Dec. ,r,r 8-10 ("Marvel.. .did not pay for rejected material or material it wanted

you to revise."); Steranko Dec. ,r,r 13-14; Sinnott Dec. ,r,r 10-11, and Adams Dec. ,r,r 8-11.

        All of the credible evidence suggests that Marvel conditioned payment on its acceptance

of completed works. 56.1 Stmt ,r,r 134, 137-42, 145-47, 149-59. When a company like Marvel

pays only for that freelance material it deems acceptable, that is a purchase of essentially

speculative work, not "work for hire." That freelancers like Kirby redrew their work, without

extra compensation, as a condition of Marvel's acceptance, underscores this point.

        As Marvel admits, the crux of the "expense" prong is who "b[ ears] the entire financial

risk associated with the creation of the Works." Mot. at 17. It is undisputed that Kirby bore all

expenses of creating his art, and thus the ''financial risk" of creation. See Adams Dec. ,r 7 ("I

completely accepted the financial risk of creating the artwork''); Steranko ,r 14 (''[W]e ...

shouldered the financial risk of creating our own material.''); Ayers Dec. ,r,r 10-12. That is not

''work for hire." See 56.1 Stmnt ,r,r 145-47, 149-59; Twentieth Century, 429 F. 3d at 881

("expense" test met if that party takes on "all the financial risk" of the work's creation) (cited by




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Marvel); Hogarth, 2002 U.S. Dist. LEXIS 4219, at *57 (publisher took "full assumption of the

risk ofloss" where it paid a "nonrefundable advance) (cited by Marvel); 1 M. Nimmer & D.

Nimmer, Nimmer on Copyright ("Nimmer") § 5.03[B][2](d] at 5-56.9 n. l 7lc ("Plainly, it is the

expense of creation, rather than publication, that is relevant" to the expense test.).

                3.      Marvel Cannot Establish the "Instance" Prong

                        a.      "Instance" Requires a Legal Right to Control a Work's Creation

        In applying the "instance" prong of the test, courts focus on the specific facts - e.g., a

work created by a traditional employee "as a special job assignment" is "not a work for hire."

Martha Graham Sch. & Dance Found., Inc. v. Martha Graham Center of Contemporary Dance,

Inc., 380 F.3d 624, 635 (2d Cir. 2004). The "instance" requirement is largely determined by the

degree to which the hiring party '"had the right ... 'to direct and supervise"" the artist's work as

this is a "hallmark of 'an employment for hire."' Playboy, 53 F.3d at 554 (citations omitted); see

Martha Graham, 380 F.3d at 635 ("The right to direct and supervise the manner in which work

is created need never be exercised.") (emph. in original); Twentieth Century, 429 F. 3d at 879

(determinative factor is "the right to control or supervise the artist's work").

       As a matter of law and logic, the "right" to control a work's creation must refer to a

contractual or legal right. Martha Graham, 380 F.3d at 635. Such "control" cannot be construed

as the practical power or not a superior bargaining position exercised by a buyer as a condition of

acceptance; nor the kind of editorial supervision exercised by a publisher with respect to both

non-works-for-hire and works for hire alike. Epoch Producing Corp. v. Killiam Shows, Inc., 522

F.2d 737, 745 (2nd Cir. 1975) ('The existence of evidence that is as consistent with a [for hire]

relationship as it is with numerous other hypotheses cannot be bootstrapped" to support a "work

for hire" conclusion.); Twentieth Century, 429 F.3d at 880 (distinguishing right of control under




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 instance prong from a publisher's "typical process" of"discussing possible improvements with

 the author"). The right of control also cannot refer to the ultimate control every publisher has

 over whether to accept and publish a work; it refers to the much more specific "right" to control

the creative process. See 2 W. Patry, Patry on Copyright ("Patry") § 5:54 ("Any hiring party

ultimately has the ability to 'control' the work in the sense of accepting or rejecting it.").

                               b.      Marvel Cannot Meet Its Burden on "Instance"

        Marvel has no evidence that it had the legal right to control Kirby's creation of the works

at issue - the "hallmark" of work for hire. Playboy, 53 F.3d at 554. Kirby indisputably had no

contract with Marvel during the Period ( 56.1 Stmnt ,r,r 146-4 7), and thus Marvel lacked the legal

right to control Kirby's work during the Period. Compare Fifty-Six Hope Rd. Music Ltd. v. UMG

Recordings, Inc., 2010 U.S. Dist. LEXIS 94500, at *29 (S.D.N.Y. Sept. 10, 2010) ("[Employer]

had the contractual right to accept, reject, modify and otherwise control the creation of the

[works]."). The first agreement with Kirby that Marvel produced is a 1972 "Assignment." Tob.

Dec. Ex. M. The second is a 1975 employment contract. Singer Dec. Ex. 46.

        As to "instance," Marvel argues that it had "authority to supervise and control" the

"ultimate publication," including the artist's "contributions." Mot. at 18. This misconstrues

"instance." The relevant point is that Marvel had no legal right to direct or control Kirby's

creation of material. All it had was purchasing power. That Kirby provided what Marvel liked

to publish is prudent business, not "work for hire." Their open-ended relationship was dictated

by the market, not "work for hire" employment. For example, Kirby developed a new version of

Captain America that Marvel rejected. Ev. Dec. ,r 19, Ex. B at 355-56. Kirby later used this

artwork to create Captain Glory, published by Topps, and Marvel never objected, even though

under their theory they would have owned this as "work for hire" at the time of its creation. Id.




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       Marvel maintains it had a "right" of control because it could edit the works, reassign

artists or cancel comic books. Mot. at 13. However, Marvel had no "right" to edit or modify

Kirby's material unless and until Marvel bought it, and Kirby likewise had no obligation to

revise his material. Marvel' s suggestions or Kirby's compliance, if any, were a function of

Marvel's buying power. As Kirby and other freelancers were not paid for "redraws" (56.1

Stmnt, ,i,i 145, 152-53), they obviously complied so that Marvel would purchase their material.

Marvel ignores the key fact that Kirby was free to reject Marvel's requests or submit material

that Marvel did not request. The fact that this might result in a lost sale shows that such works

were not owned by Marvel as "works for hire" at inception. Marvel's power as a publisher to

reject and not pay for Kirby's material does not render it "work for hire." Epoch Producing

Corp .. 522 F.2d at 745. Once Marvel purchased Kirby's work, it was free to edit, publish or not

publish what it owned, and Marvel, like any publisher, had the "last word" on what it published.

                       C.      Marvel's Lack of a Legal Obligation to Buy Kirby's Material,
                               Weighs Against "Instance" (As Well As "Expense")

       Marvel had no legal obligation to buy and pay for Kirby's material, and Kirby had no

legal obligation to provide material to Marvel, to modify his work or even to finish work he

started. See 56.l Stmnt ,i 154; Tob. Dec. Ex.Eat 73:11-74:5; Ayers Dec. ,i,i 10-12 ("I was not

obligated to Marvel to create or work on any material."); Adams Dec. ,i,i 8-10 ("Marvel ... was

not obligated to buy my artwork or stories . . . . In the same vein, as a freelancer, I was not

obligated to Marvel."); Colan Dec. ,i,i 8-14; Steranko Dec. ,i,i 8-11; and Sinnott Dec. ,i,i 10-11.

This weighs heavily against "instance.'' Playboy, 53 F.3d at 563 (where hiring party ''had no

commitment to purchase any of [the author's] work,'' that supports a finding that such works

were not "for-hire"); 960 F. Supp. at 718 (stating that "[t]he logical conclusion ... is that Playboy

paid Nagel for works it did not use because he created them at its instance" and that '•if Playboy



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had never published the work at all there would have been no reason to pay anything for it absent

a work for hire relationship .... "). There is a natural link between such an obligation to pay and

the "right to supervise" under the "instance" test. Every publisher can "accept, reject or modify"

a work, regardless of whether it is "work for hire." If such right is not linked to a legal

obligation to pay, any sale to a publisher would instantly make a work "for hire." Thus,

Marvel's lack of legal obligation to pay Kirby weighs against both "instance" and "expense."

                4.      The Parties Clearly Did Not Intend "Work for Hire"

                        a.      The Fact-Intensive Question of the Parties' Mutual Intent is
                                Normally for the Trier of Fact

        It is well accepted that whether a work is "made for hire" under the 1909 Act turns on the

mutual "intent of the parties." Playboy, 53 F.3d at 556-57. The analysis requires an evaluation

of"the actual relationship between the parties, rather than the language of their agreements, in

determining authorship of the work." Marvel Characters, Inc. v. Simon, 310 F.3d 280,291 (2d

Cir. 2002) (citing Donaldson). See 3 Nimmer § 1 1.02[A] [2] at 11-13 ("[I]t is the relationship

that in fact exists between the parties ... that is determinative."). Such "questions ... as to the

parties' intent ... are generally for the trier of fact." 3 Nimmer § 12.1 O[A]; Langman Fabrics v.

Graff Californiawear, Inc., 160 F .3d 106, 111, 113 (2d Cir. 1998) ("Questions of historical fact

relevant to applying each [work for hire] factor are for the finder of fact. ... "). As held in Marvel,

"it will be for the [trier of fact] to determine whether Simon was the author of the Works and,

therefore, whether he can exercise§ 304(c)'s termination right." 310 F.3d at 292.

                       b.      The Record Evidence Establishes That the Parties Understood That
                               Kirby "Assigned" His Freelance Work to Marvel

       As Marvel argues, a work is "made for hire" if it '" belonged at the outset to the party that

commissioned the work."' Mot. at 10-11 (quoting Siegel, 658 F. Supp. 2d at 1056). All the




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evidence points to the fact that this was not Kirby's or Marvel's understanding in the Period, and

that Marvel purchased and Kirby assigned that freelance material once Marvel accepted it - the

antithesis of "work for hire." Marvel engaged in a practice of placing a legal acknowledgement

or legend on the back of its checks, forcing freelancers to sign under the legend in order to cash

their checks. Marvel claims it has no copies of any freelancer checks prior to 1974 and no

checks to Jack Kirby prior to 1986. Tob. Dec. Ex. Lat ,r,r 2, 4; Ex. AA. However, the Kirbys

uncovered a June 1, 1973 Marvel check to freelancer Stephen Gerber (Howard the Duck) that

Marvel submitted in a lawsuit against Gerber. Tob. Dec. Ex. LL at Ex. C. Marvel described the

check as "typical of checks endorsed by Gerber," and it contained this "legend":

       By endorsement of this check, I, the payee, acknowledge full payment for my
       employment by Magazine Management Company, Inc. and for my assignment to it of
       any copyright, trademark and any other rights in or related to the material, and including
       my assignment of any rights to renewal copyright.

Id. Ex. LL at Ex. C (emphasis added); Ex. AA at 14603; Ex.Lat ,r 15. This "assignment" legend

also appeared on the earliest freelance check produced by Marvel - a 1974 check to the freelance

artist Dick Ayers (Sgt. Fury). Tob. Dec. Ex. AA. Neither legend mentions "work made for

hire;" rather, both use explicit language of purchase and assignment. Id. Ex. BB. Numerous

freelancers who sold work to Marvel both during and shortly after the Period testified that their

checks from Marvel contained such language of purchase and assignment, and did not mention

"work for hire." See Ayers Dec. ,r,r 13-14 ("[language] stated that by signing the check I was

transferring to the comic book publisher all of my rights in the material it had purchased"); Colan

Dec. ,r,r 12, 14 ("[l]t was not until the late l 970's that the words 'work for hire' and 'work made

for hire' were" added to the checks.); Steranko Dec. ,r,r 12-13 (there "was a stamped legend

which stated that by endorsing the check, I was assigning to the publisher all rights in the work,

including the copyright;'' "[n]owhere did the phrase 'work for hire' or 'work made for hire'



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appear"); Sinnott Dec. ,i,r 13-14 and Adams Dec. ,i,i 13-14. 4 The earliest produced Marvel check

with a legend mentioning "work for hire" is from 1986 and applies to traditional employment:

        By acceptance and endorsement of this check, payee acknowledges, a) full payment for
        payee's employment by Marvel Entertainment Group, Inc., b) that all payee's work has
        been within the scope of that employment, and c) that all payee's works are and shall be
        considered as works made for hire, the property of Marvel Comics Group, Inc.

Tob. Dec. Ex. BB. All this evidence raises a strong inference that Marvel viewed its ownership

as predicated on purchase and assignment, not "work for hire." 5 Marvel's key competitor, DC,

has admitted that "[w]e, the publishing houses, are paying only the right to reproduce the work,"

and that "[t]he ownership of the page ... belongs unequivocally to the artist.. .. " Id. Ex. QQ.

        Marvel's language of purchase and assignment can even be found in agreements Marvel

entered into with freelancers in the mid to late 1970' s. The term "work for hire" appears

nowhere in these Marvel agreements. Kirby's first written employment agreement with Marvel,

dated March 24, 1975, is telling. Singer Dec. Ex. 46 at ,i 11. Therein, Kirby "grants to Marvel

the sole and exclusive right to all Material delivered to Marvel hereunder, including but not

limited to, (a) the exclusive right to secure copyrights in the Material." Id. Ex. 46 at ,i 7.

Marvel's October 7, 1977 agreement with Gerber,

                                                all use the same language of assignment. Tob.

Dec. Ex. LL at Ex.Eat iJ 7; Ex. LL at Ex. D at iJ 8;

             . Marvel's own attorneys admitted in Gerber's lawsuit that his "agreement ...


4
  Western Printing, Marvel's competitor, also owned freelance artwork based on "assignment,"
as evidenced by Western's form freelance voucher signed by Don Heck in 1965. Tob. Dec. Ex.
T ("I hereby release, transfer and assign to Western ... "). Like Kirby, Heck (Iron Man) worked
as a freelance artist with Marvel and others, from 1958-1960's. Id. Ex. U at 78, 99, 108.
5
  Notably, in Lee's November 1, 1998 agreement with Marvel, Lee agreed to ·'assign, convey
and grant ... all right, title and interest," and "any copyrights" in his alleged material. Singer
Dec. Ex. 25 at ,i 5(a). It nowhere mentions ·'work for hire," and the reason is that if Marvel fails
to pay the monies due in the agreement, Lee can revoke the assignment. Id. Ex. 25 at ,i 5(f).


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granted to Marvel the sole and exclusive right to all of the material delivered by Gerber to

Marvel, including the exclusive right to secure copyrights in the material." Tob. Dec. Ex. LL at

Ex.Eat iJ 5; Ex. LL at Ex. D at iJ 8.



                                           The agreement further provides that Kirby shall

"deliver such further documents ... as Marvel may request for the purpose of confirming the

rights herein granted to Marvel." Singer Dec. Ex. 46 at ,i 11

       Thus, as late as 1977, nearly 15 years after the operative Period, Marvel still couched its

relationship with freelancers in terms of the purchase and assignment of copyright, not "work for

hire," in both its agreements and its freelancer checks. This raises a nearly irrebutable inference
                                                                                               6
that the parties did not intend a "work for hire" relationship in the more haphazard Period.

       The foregoing is also consistent with the understanding of numerous freelancers who had

worked with Marvel during or shortly after the Period that Marvel owned their work, not as

"work for hire," but because it simply had purchased it. See Ayers Dec. ,i,i 11-14 ("In fact, I do

not believe I ever even heard the term "work for hire" mentioned in the comic book business

until the very late 1970's or early 1980's."); Colan Dec. ,i 9, 12 ("I understood that Marvel would

own the artwork ... once they accepted it because I was selling it to Marvel."); Steranko Dec. ,i,i
                                                    7
8-14; Sinnott Dec. ,i,i 10-11; Adams Dec. ,i,i 7-15. Marvel's own witnesses Stan Lee (Tob. Dec.


6
  The cases cited by Marvel to weakly argue that "grant" language is not dispositive all involved
employers that were financially obligated to pay for commissioned work. See Fifty-Six Hope Rd
Music Ltd. v. UMG Recordings, Inc., 2010 U.S. Dist. LEXIS 94500, at *30-32 (advances against
royalties); Twentieth Century, 429 F.3d at 881 (same); Hogarth, 2002 U.S. Dist. LEXIS 4219, at
*57 (same); Playboy. 960 F. Supp. at 715 (S.D.N.Y. 1997) (tum-down fee).
7
  That Marvel did not own these works from inception as "work for hire" is also shown by
Marvel's concern over its failure to pay sales tax when it purchased the artwork. Ev. Dec. Ex. A
at 18; Mor. Dec. Ex. 13-14; Tob. Dec. Ex. PP at 93. As early as the 1950s, comic book
companies in California paid sales tax when they purchased artwork. Ev. Dec. Ex. A at 18. In


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    Ex. J at 396:1-14), Roy Thomas (Id. Ex.Kat 232:5-10) and by Lee's brother, Larry Lieber (Id.

    Ex. E at 100:21-101 :9) admitted this as well. Also inconsistent with Marvel' s revisionist "work

    for hire" theory, is that Kirby used rejected artwork, elsewhere. Mor. Dec. Ex. A at 9-10. 8 From

every respect, Marvel' s conduct contradicts its revisionist "work for hire" claim, and, at most,

raises triable issues of material fact as to the parties' intent.

                          c.      The Court Must Not Retroactively Impute an Intent the Parties Did
                                  Not Have, and Could Not Have Had

           As noted above, whether material is a "work for hire" under the 1909 Act "always tum[s]

on the intention of the parties." 1 Nimmer § 5.03 [B][2][e] at 5-56.1. Yet, until 1965-66, "the

courts had applied the work for hire doctrine under the 1909 Act exclusively to traditional

employees." Community for Creative Non-Violence v. Reid ("CCNV"), 490 U.S. 730, 744

(1989); Hogarth, 342 F .3d at 161 n.15. As the "work for hire" doctrine only applied to

traditional hierarchical employees during the relevant 1958-1963 Period, and Kirby was clearly

an independent contractor, the parties could not intended a "work for hire" relationship.

           The contemporaneous first 1963 edition of the Nimmer treatise confirms this, stating "if

in the creation of such material the employee is to work as an independent contractor ... then the

employer must claim such ownership by virtue of an assignment and not merely by virtue of his

status as an employer." M. Nimmer, Nimmer on Copyright§ 62.4 at 242 (1963) (Toberoff Dec.

Ex. JJJ). ·'Sec[tion] 26 expressly renders an employer for hire an 'author' but makes no


the early 1980s, artists inquired about this practice with the New York tax authorities. Id.; Tob.
Dec. Ex. KKK. Marvel feared substantial liability for years of back taxes on purchased freelance
artwork. Tob. Dec. Ex. K at 267: 14-19; Colan Dec. at ,i 15; Steranko Dec. at ,i,i 15-16.
8
 For example, Kirby developed The New Gods while submitting artwork for Marvel's Thor;
Kirby offered these characters to Marvel, who did not purchase them and never objected when it
became Kirby's flagship comic at Marvel's rival DC Comics. Ev. Dec. ,i 17, 20, Exs. C, D.
Similarly, Kirby's re-imagined version of Thor was rejected by Marvel without pay, and Kirby
openly sold copies of it without objection from Marvel. Ev. Dec., ,i 17; Ex. C at 956.


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comparable provision with respect to commissioned works." Id. § 63 at 245 n.80. Nimmer in

1963 drew a sharp distinction "where the creator is an independent contractor rather than an

employee" and "contrasted [this] with an employment for hire." Id. § 63 at 244-45.

       The legislative history from 1960 of the 1976 Act also made it clear that the definition

"work for hire" under the 1909 Act was intended to apply only to traditional "employees":

       The statutory concept of employment for hire is based on the specific contractual
       relationship between employer and employee. . ... [A ]ll the cases have involved salaried
       employees who received either a fixed salary or a minimum salary plus commission ....
       Hence, it may be concluded that section 26 {of the 1909 Act} refers only to works made
       by salaried employees in the regular course of their employment.

B. Varmer, Copyright Law Revision Study No. 13 (1960) (emphasis added).

       This understanding of "employer" and "employee" to mean traditional forms of

employment and hiring is consistent with the contemporary legal definition not only when the
                                                                 9
1909 Act was passed, but during the 195 8-1963 Period as well.

       In short, even if Marvel or Kirby had retained sophisticated counsel in the operative

Period, even Melville B. Nimmer, himself, they would have been advised that Kirby's work was

not "for hire." As the "work for hire" doctrine at the time applied only to employees, the parties,

as matter of law, could not have intended that Kirby's freelance work was "made for hire."

                       d.     Kirby's Purported Acknowledgments of"Work for Hire" Years
                              Later are Unpersuasive and Cannot Circumvent the Termination

       Marvel weakly relies on two self-serving documents drafted by Marvel long after the

Period and signed by Kirby under economic pressure - (i) a 1972 "Assignment'· entered into in


9
 See, e.g., Black's Law Dictionary, 2d Ed. (1910) at 421 (defining "employer" as "one who
employs the services of others; ... who pays their wages or salaries" and "employee" "mean[ s]
some permanent employment or position"); Black's Law Dictionary, 4th Ed. (1951) at 617-18
(defining ·'employer" in the same manner, and as "the correlative of employee,'' and "employee"
as ''[o]ne who works for an employer; a person working for salary or wages; ... 'employee' must
be distinguished from 'independent contractor, ' ..... ") (emphasis added).


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connection with a prior lawsuit by Kirby's former partner Joe Simon ("Simon") over Captain

America; (ii) a mandatory "artwork release" for the return of Kirby's original artwork- that re-

characterized all Kirby material published by Marvel as "work for hire." Mot. at 22.

        Incredibly, Marvel intentionally omits from its Motion the Second Circuit's leading

termination case, Marvel v. Simon, 310 F .3d 280 (2002). In Simon, Marvel sought to invalidate a

statutory termination notice by Simon regarding Captain America, arguing, as here, that it was

"work for hire." The district court granted summary judgment based, in part, on a settlement

agreement from the same prior lawsuit containing a post-hoc "work for hire" acknowledgement

very similar to that in Kirby's 1972 Assignment, 10 and the 1987 artwork release that Marvel

relies on here. The Second Circuit unequivocally held that Marvel cannot avoid section 304's

inalienable termination right by re-characterizing a work as "for hire" years after its creation; and

that such is void under 17 U.S.C. § 304(c)(5) as an "agreement to the contrary." 310 F.3d at 292

(''Termination of [a] grant may be effected notwithstanding any agreement to the contrary .... ").

                       e.      In the Termination Context, the "Instance and Expense" Test Must
                               Be Applied Cautiously At Best

       Section 24 of the 1909 Copyright Act simply states that "[t]he word author shall include

an employer in the case of works made for hire," but does not further define "employer." 17

U.S.C. § 26 (repealed). It is a well-accepted canon of statutory construction that "where words

are employed in a statute which had at the time a well-known meaning at common law or in the

law of this country they are presumed to have been used in that sense unless the context compels

to the contrary." Standard Oil Co. v. United States, 221 U.S. 1, 59 (1911). This canon remains a

10
   In fact, Kirby's 1972 Assignment reveals that it was originally an agreement between Simon
and Marvel regarding Captain America. Tob. Dec. Ex. M. Simon's name was "whited out" and
"Kirby" was written in its place, and Marvel failed to alter the preamble which reads: "For and in
consideration of the covenants and agreements herein contained and the sum of One Dollar ($1 ),
the receipt of which Simon hereby acknowledges .... " Id. Ex. M at K 1531 (emphasis added).


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"cardinal rule of statutory construction." Molzof v. United States, 502 U.S. 301, 307 (1992).

       The "instance and expense" test, as extended to independent contractors, contradicts the

common law definition of"employer" in the 1909 Act. The common-law meaning of

"employer" as a "conventional master-servant relationship" clearly distinguishes independent

contractor relationships such as that between Kirby and Marvel. See Clackamas

Gastroenterology Assocs., P.C. v. Wells, 538 U.S. 440, 445 n.5 (2003) (common-law agency

doctrine is used "for determining whether a hired party is an employee," and "draw[s] a line

between independent contractors and employees"); Nationwide Mut. Ins. Co. v. Darden, 503

U.S. 318,323 (1992) (distinguishing independent contractors from employees under ERISA);

NLRB v. United Ins. Co. of America, 390 U.S. 254, 256 (1968) (same, under NLRA).

       In the copyright context, the Supreme Court also drew a clear distinction between an

"employee" and "independent contractor," and expressly stated that "when Congress has used

the term 'employee' without defining it, we have concluded that Congress intended to describe

the conventional master-servant relationship as understood by common-law agency doctrine."

CCNV, 490 U.S. at 739-40. In other contexts, the Supreme Court similarly rejected result-

oriented decisions where "the content of the term 'employee' in the context of a particular

federal statute is to be construed in the light of the mischief to be corrected and the end to be

attained," as this does not justify "unmooring the term from the common law." Nationwide Mut.

Ins. Co .. 503 U.S. at 324. The Supreme Court reaffirmed the strong presumption that "Congress

means an agency law definition for 'employee' unless it clearly indicates otherwise." Id. at 325.

         Notably, after the Second Circuit held that the "instance and expense" test determined

"who qualified as an employee under the 1976 Act," see 1 Nimmer§ 5.03[B][l][a][ii], the

11
  See, e.g.. Carter v. United States, 530 U.S. 255, 266 (2000); Amoco Prod. Co. v. Ute Indian
Tribe, 526 U.S. 865, 873-74 ( 1999); Morissette v. United States, 342 U.S. 246, 263 ( 1952).


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Supreme Court unanimously rejected that approach. CCNV, 490 U.S. at 749-50. Instead, it

relied on the common law of agency to define "employee," not the "instance and expense" test,
                                                                                                   12
as the "paramount goal" is to "enhance predictability and certainty of copyright ownership." Id.

         Hogarth, 342 F.3d at 162-63, declined to read CCNV as effectively overruling the

instance and expense test under the 1909 Act, stating that CCNV' s definition of "employee" was

"dictum." However, it never reconciled its application of the "instance and expense" test with

the 1909 Act's limitation of "work for hire" to an "employer," or its common law definition.

         Moreover, the Second Circuit has never applied the "instance and expense" test to

determine "work for hire" under the 1976 Act's termination provisions. None of the Second

Circuit's post-CCNV"instance and expense" cases relate to termination rights. See, e.g.,

Playboy, 53 F.3d 549 (ownership under the 1909 Act); Hogarth, 342 F.3d 149 (renewal rights

under the 1909 Act); Martha Graham, 380 F.3d 624 (same). The issue was ownership. The

lines between ownership by implied assignment or as "work for hire" were blurred and of less
                                                      13
importance. See Hogarth, 342 F.3d at 160, 160 n.14.        None ofMarvel's cases concern the

1976 Act's termination provisions, where the distinction, as here, makes all the difference.

         Similarly, none of the Second Circuit cases regarding the 1976 Act's termination rights
                                                                              14
involved the "work for hire" exception, except the post-CCNV case, Marvel.         Notably, in


12
  CCNV noted that relevant factors from "the general law of agency" include ·'the skill required;
the source of instrumentalities and tools; the location of the work ... the extent of the hired
party's discretion over when and how long to work; the method of payment; ... the provision of
employee benefits and the tax treatment of the hired party." Id. at 751-52.
13
   For this reason, the application of the "instance and expense" test to freelancers has been
criticized by the leading copyright authorities. See 2 Patry § 5 :44 (criticizing the vague post-
1965 expansion of "work for hire" to freelancers and praising Martha Graham, 380 F.3d at 624,
for"[ e ]liminat[ing] the worst features of [the] presumptive 'instance and expense' approach."); 3
Nimmer§ 9.03[D], at 9-28.2 to 9-28.3 (decisions applying "work for hire" doctrine to
independent contractors are "wrong both on principle and under the rule of the early cases").
14
     See Penguin Group (USA) Inc. v. Steinbeck, 537 F.3d 193, 200-04 (2d Cir. 2008) (whether a


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Marvel, the Second Circuit cited CCNV, and stated that "this Court has looked to agency law to

determine whether a work is created 'for hire' under the 1909 Act." 310 F.3d at 291.

       It is indisputable that the clear legislative intent behind the termination provisions was "to

protect authors from [their] unequal bargaining positions." Marvel, 310 F.3d at 290 (citing H.R.

Rep. at 124). The Supreme Court recently emphasized the "inalienable authorial right to revoke

a copyright transfer" and confirmed that the objective of the termination provisions is to readjust

the "author/publisher balance" by "enhanc[ing] the author's position vis-a-vis the patron." N. Y

Times v. Tasini, 533 U.S. 483,496, n.1 (2001).

       In light of the lack of binding authority for application of the "instance and expense" test

in the termination context, the Second Circuit's contrary indications in Marvel, the Supreme

Court's repeated interpretation of the terms "employer"/"employee" under the common law of

agency, and the concerted legislative objectives behind the termination right, this Court can

determine under CCNVand the "general law of agency" that Marvel was not Kirby's "employer"

in the Period for purposed of Section 26 of the 1909 Act. If the Court feels constrained to apply

the controversial "instance and expense" test, it should be applied with care so as not to gut the

equitable legislative purpose of the termination provisions. As Marvel cannot even meet its

burden of proving "instance and expense," under any meaningful application of that test, and

implicates numerous material issues of fact in attempting to do so, its motion must be denied.

                                         CONCLUSION

       For the foregoing reasons, the Kirbys respectfully request that Marvel's motion for

summary judgment be denied.



post-1978 grant was barred by§ 304(c)(5)); Stone v. Williams, 970 F.2d 1043, 1066 (2d Cir.
1992) (who owns the termination right); Burroughs v. Metro-Goldwyn-Mayer. Inc., 683 F.2d
610, 620-628 (2d Cir. 1982) ( whether tem1ination covered certain works).


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Dated: March 25, 2011               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was served electronically by e-mail

and by first class mail on those parties not registered for ECF pursuant to the rules of this court.

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